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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

OAKLEY, INC.,
                                                     Case No. 20-cv-04402
                      Plaintiff,
                                                     Judge Mary M. Rowland
      v.
                                                     Magistrate Judge Jeffrey Cummings
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,
                 Defendants.


                              DECLARATION OF SERVICE

     I, Thomas J. Juettner, of the City of Chicago, in the State of Illinois, declare as follows:

  1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

     and the United States District Court for the Northern District of Illinois. I am one of the

     attorneys for Plaintiff Oakley, Inc. (“Plaintiff”). Except as otherwise expressly stated to

     the contrary, I have personal knowledge of the following facts and, if called as a witness, I

     could and would competently testify as follows:

  2. On July 31, 2020, this Court entered an Order [24] permitting Plaintiff to complete service

     of process to Defendants pursuant to Federal Rule of Civil Procedure 4(f)(3) by

     electronically publishing a link to the Complaint, TRO and relevant documents on a

     website and by sending an e-mail to the e-mail addresses identified in Exhibit 2 to the

     Declaration of Jason Groppe and any email addresses provided for Defendants by third

     parties that includes a link to said website.

  3. I hereby certify that on August 24, 2020, I electronically published the Complaint, TRO,

     Summons and other relevant documents on a website.


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   4. I hereby certify that on August 24, 2020, I sent an e-mail to the e-mail addresses identified

       in Exhibit 2 to the Declaration of Jason Groppe and any e-mail addresses provided for

       Defendants by third parties that includes a link to said website.

   5. The completed Return of Service form is attached hereto.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 24th day of August 2020, at Chicago, Illinois.


                                                     /s/ Thomas J. Juettner
                                                     Thomas J. Juettner
                                                     GREER, BURNS & CRAIN, LTD.
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                                                     Oakley, Inc.




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